                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                   at KNOXVILLE

JAMIE LEWIS,                                   )
                                               )
Petitioner                                     )           Case Nos.      2:09-cr-00031-11
                                               )                          2:12-cv-00048
v.                                             )
                                               )           Judge Jordan
UNITED STATES OF AMERICA,                      )
                                               )
Respondent.                                    )
                                               )

                                        JUDGMENT

        For the reasons expressed in the accompanying memorandum opinion filed herewith, it is

ORDERED and ADJUDGED that the Motion [Doc. 1049, 1058] by petitioner Jamie Lewis for

post-conviction relief pursuant to 28 U.S.C. § 2255 is DENIED and DISMISSED WITH

PREJUDICE.

        If petitioner Jamie Lewis files a notice of appeal from this judgment, such notice of

appeal will be treated as an application for a certificate of appealability which is DENIED

pursuant to 28 U.S.C. § 2253(c)(2) and Fed. R. App. P. 22(b) because he has failed to make a

substantial showing of the denial of a federal constitutional right. The Court CERTIFIES

pursuant to 28 U.S.C. § 1915(a)(3) and Fed. R. App. P. 24 that any such appeal from this

judgment would be frivolous and not taken in good faith.

        SO ORDERED.

                                            ENTER:



                                                                   s/ Leon Jordan
                                                             United States District Judge




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